                                                                  SO ORDERED.


                                                                  Dated: December 7, 2017
1
2
                                                                  ______________________________________
3                                                                 Madeleine C. Wanslee, Bankruptcy Judge
4

5                         IN THE UNITED STATES BANKRUPTCY COURT
6                                 FOR THE DISTRICT OF ARIZONA
7    In re:                                              (Chapter 7 Case)
8    LOWELL JAMES GULLEY and                             No. 2:17-bk-01606-MCW
     JOLENE KAY GULLEY,
9
                     Debtors.                            ORDER APPROVING TRUSTEE’S
10                                                       STIPULATED APPLICATION TO
                                                         COMPROMISE CLAIM
11
              After thorough consideration of the Trustee’s Stipulated Application to Compromise Claim
12
     (“Stipulated Application”) filed by Constantino Flores, Chapter 7 Trustee (“Trustee”), a copy of which
13
     is attached as Exhibit A and is incorporated by reference, and good cause appearing therefor;
14
              THE COURT FINDS that settlement is in the best interest of the Estate, that the Stipulated
15
     Application has been duly noticed, with no objections having been received and all other requirements of
16
     Bankruptcy Rule 9019 having been satisfied;
17
              IT IS HEREBY ORDERED approving Trustee’s Stipulated Application and Authorizing the
18
     Trustee to accept the sum of $8,000.00 in order to settle the Estate’s interest in: (i) the Claims, (ii)
19
     scheduled non-exempt assets exclusive of the Estate’s pro rata share of Debtors’ 2016 federal and state
20
     income tax refunds, if any, and (iii) all other remaining disclosed issues, as forth in Trustee’s
21
     Stipulated Application attached hereto.
22

23
                                        DATED AND SIGNED ABOVE
24

25

26

27

28


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1    LANE & NACH, P.C.
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     Telephone No.: (602) 258-6000
3    Facsimile No.: (602) 258-6003
4    Paul M. Hilkert - 028934
     Email: paul.hilkert@lane-nach.com
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     Email: kristofer.mcdonald@lane-nach.com
6
     Attorneys for Constantino Flores, Trustee
7
                                   IN THE UNITED STATES BANKRUPTCY COURT
8
                                         FOR THE DISTRICT OF ARIZONA
9
     In re:                                                 (Chapter 7 Case)
10                                                          Case No. 2:17-bk-01606-MCW
     LOWELL JAMES GULLEY and
11   JOLENE KAY GULLEY,                                     STIPULATED APPLICATION TO
                                                            COMPROMISE CLAIM [F.R.B.P. 9019]
12                       Debtors.

13
               Constantino Flores, Chapter 7 Trustee, and Lowell J. Gulley and Jolene K. Gulley, Debtors,
14
     (collectively “Parties”) by and through their attorneys undersigned, herein apply to this Court for an Order
15
     authorizing Trustee to compromise a claim of the Estate. In support of this Stipulated Application, the
16
     Parties present the following Memorandum of Points and Authorities.
17
                                    MEMORANDUM OF POINTS AND AUTHORITIES
18
     I. FACTUAL BACKGROUND
19
               1. This case was commenced by voluntary petition filed by the Debtors on February 22, 2017
20
     (“Petition Date”).
21
               2. Constantino Flores is the duly qualified and acting Trustee in this case (“Trustee”).
22
               3. Among the assets of this Estate are (i) a claim against Debtors for the immediate turnover of
23
     the Estate’s non-exempt pro rata share of earned but unpaid wages, non-exempt security deposit, non-
24
     exempt bank funds, and Petition Date cash on hand in the approximate collective amount of $7,060.00
25
     pursuant to 11 U.S.C. §§ 541 and 542, (ii) a claim against Andrew Goldschmidt to recover a payment by
26
     Debtor to Mr. Goldschmidt in the amount of $1,980.00 during the ninety day period prior to the Petition
27
     Date which transfer Trustee alleges is avoidable and recoverable for the benefit of creditors of this Estate
28
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     Phoenix, AZ 85016
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 1   pursuant to 11 U.S.C. §§ 547, 550 and 551, and (iii) a claim against Wanda Vaughn to recover payments
 2   by Debtor to Ms. Vaughn, or to Ms. Vaughn’s credit card company for the benefit of Ms. Vaughn, in the
 3   approximate collective amount of $2,000.00 during the ninety day period prior to the Petition Date which
 4   transfers Trustee alleges is avoidable and recoverable for the benefit of creditors of this Estate pursuant to
 5   11 U.S.C. §§ 547, 550 and 551 (collectively “Claims”).
 6             4. While Debtors do not dispute that they must turn over the non-exempt cash, bank funds,
 7   wages, and security deposit, they dispute Trustee’s allegation that they had any cash on hand, and dispute
 8   that the transfers to Andrew Goldschmidt and Wanda Vaughn are avoidable preference payments.
 9   II. AGREEMENT BETWEEN THE PARTIES
10             5. Trustee has received an offer from the Debtors to settle the Claims. The Debtors agree to pay
11   the Estate the sum of $8,000.00 (“Settlement Amount”), as set forth below, in order to settle the Estate’s
12   interest in: (i) the Claims, (ii) scheduled non-exempt assets exclusive of the Estate’s share of Debtors’
13   2016 federal and state income tax refunds and pro rata share of Debtors’ 2017 federal and state income
14   tax refunds, if any, and (iii) all other remaining disclosed issues, subject to Court Approval.
15             6. Debtors agree to pay the Settlement Amount to the Trustee through nine (9) monthly
16   payments. The first monthly payment in the amount of $888.00 shall be received on or before five (5)
17   days of the date of the Order approving this Stipulated Application. The subsequent seven monthly
18   payments in the amount of $888.00 are to be received by the Trustee on the same date of each consecutive
19   month thereafter. The ninth and final monthly payment shall be in the amount of any balance due and
20   owing and will be due on the same day of the month as the prior payments. Should the due date for any
21   given payment fall on a weekend or holiday, payment shall be received by the Trustee on or before the
22   soonest business day prior to the due date.
23             7. Debtors agree that the failure to timely remit payment to the Trustee will result in the
24   assessment of a $250.00 late charge, and will further constitute a default under the terms of this Stipulated
25   Application. In the event of default, a ten (10) day default notice (“Notice”) will be delivered to the
26   Debtors with a copy to Debtors’ Counsel at the address set forth on the docket on the date the default
27   letter is mailed. Should the Debtors fail to cure the default by the close of business on the tenth (10th)
28   calendar day from the date of the Notice, the balance due and owing on the Settlement Amount shall be
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 1   accelerated and immediately due and owing, along with the late fee, and Debtors shall be responsible for
 2   any costs and attorneys’ fees incurred by the Estate, from the date of default, in order to collect the
 3   Settlement Amount. Moreover, in the event Debtors fail to timely cure the default, Trustee may lodge an
 4   order with the Court directing Debtors to turn over the outstanding balance due and owing on the
 5   Settlement Amount, the late fee, and reasonable attorneys’ fees and costs.
 6             8. Payment shall be in the form of a check naming as payee “Constantino Flores, Trustee.”
 7             9. Although Trustee believes he would be successful in litigation, based upon the time, costs, and
 8   uncertainty associated with litigation, Trustee, in his best business judgment, believes that the current
 9   settlement will maximize distribution to creditors of the Estate.
10             10. This agreement is entered into in reliance upon the representations and information provided
11   by the Debtors to the Trustee and retained in the files maintained by the Trustee for this Estate. Should
12   the representations or documentation provided by or on behalf of the Debtors to the Trustee later be
13   determined to be materially inaccurate or deficient or that this settlement was based upon information
14   fraudulently delivered or represented by the Debtors, the Estate shall retain all rights and actions released
15   herein.
16   III. LEGAL ARGUMENT
17             The requested relief is authorized by Rule 9019(a) of the Federal Rules of Bankruptcy Procedure
18   which provides as follows:
19                   On motion by the trustee and after notice and a hearing, the court may approve a
20                   compromise or settlement. Notice shall be given to creditors, the United States
21                   Trustee, the debtor, the indenture trustee as provided in Rule 2002 and to any other
22                   entity as the court may direct.
23             The Trustee, in the exercise of his best business judgment and in consideration of the requirements
24   of A & C Properties, 784 F.2d 1377 (9th Cir. 1986), In re Woodson, 839, F.2d 610 (9th Cir. 1988), and In
25   re Schmitt, 215 B.R. 417 (9th Cir. BAP 1997), believes that the proposed compromise and settlement is an
26   appropriate resolution of this matter.
27             Bankruptcy courts have broad discretion in approving compromise agreements. In re Woodson
28   839 F.2d at 620. The Court may approve a compromise if it is fair and equitable. Id. In determining the
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    Phoenix, AZ 85016
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 1   fairness and adequacy of a proposed compromise agreement, the Court should consider the following four
 2   factors: (1) the probability of success in litigation; (2) the difficulties, if any, to be encountered in
 3   collection; (3) the complexity of the litigation involved as well as the expense, inconvenience and delay
 4   necessarily attendant to the litigation; and (4) the paramount interest of creditors and a proper deference to
 5   their reasonable views.
 6             Consideration of these factors does not require the Court to decide questions of law or fact raised
 7   in the controversies sought to be settled, or determine that the compromise presented is the best possible
 8   outcome. Rather, the Court need only canvass the issues to determine whether the settlement fails “below
 9   the lowest point in the zone of reasonableness”. Newman v. Stein, 464 F.2d 689, 698 (2nd Cir. 1972). cert.
10   denied. 409 U.S. 1039 (1972); see also In re Pennsylvania Truck Lines, Inc., 150 B.R. 595, 598 (Bankr.
11   E.D. Pa. 1992) (holding that a bankruptcy court must consider these factors to see whether the settlement
12   falls below the lowest point in the range of reasonableness.)              Accordingly, if the court finds the
13   compromise does not fall below the threshold of reasonableness, the compromise should be approved. In
14   re Planned Protective Services, Inc., 130 B.R. 94, 99 n.7 (Bankr. C.D. Cal. 1991).
15             The Trustee believes the proposed settlement is in the best interest of the creditors and parties-in-
16   interest of this Estate. Although Trustee believes he would be successful in litigation, based upon the
17   time, costs, and uncertainty associated with litigation, Trustee, in his best business judgment, believes that
18   the current settlement will maximize distribution to creditors of the Estate.
19             WHEREFORE, the Parties pray for an Order of this Court as follows:
20                       a. Authorizing the Trustee accept the sum of $8,000.00 pursuant to the terms set forth
21   herein, in order to settle the Estate’s interest in: (i) the Claims, (ii) scheduled non-exempt assets exclusive
22   of the Estate’s pro rata share of Debtors’ 2016 federal and state income tax refunds, if any, and (iii) all
23   other remaining disclosed issues; and
24                       b. For such other and further relief as this Court deems just and proper.
25

26

27   ///
28
     Lane & Nach, P.C.                                         4
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     Phoenix, AZ 85016
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 1             RESPECTFULLY SUBMITTED this 6th day of November, 2017.
 2
                                          LANE & NACH, P.C.
 3
                                          By: /s/ Paul M. Hilkert - 028934
 4                                                Paul M. Hilkert
                                                  Kristofer R. McDonald
 5                                                Attorneys for Trustee

 6                                        CAMPBELL & COOMBS, P.C.

 7
                                          By     /s/ Harold Campbell (with permission)
 8                                               Harold Campbell
                                                 Attorney for Debtors
 9
10                                        DEBTORS

11

12                                        By     (see attached)
                                                 Lowell James Gulley
13                                               Debtor

14

15                                        By     (see attached)
                                                 Jolene Kay Gulley
16                                               Co- Debtor

17

18   Copy of the foregoing delivered
     via electronic notification:
19
     Harold Campbell
20   Campbell & Coombs, PC
     1181 S. Alma School Rd., #225
21   Mesa, AZ 85210
     Email: heciii@haroldcampbell.com
22   Attorney for Debtors

23   Office of U.S. Trustee
     230 North First Avenue
24   Phoenix, AZ 85003
     Email: Christopher.J.Pattock@usdoj.gov
25   Email: ustpregion14.px.ecf@usdoj.gov

26
     By: /s/ Debbie McKernan
27

28
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